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 6
                       UNITED STATES DISTRICT COURT
 7
                             DISTRICT OF NEVADA
 8

 9   UNITED STATES OF AMERICA,           )
                                         )    2:12-cr-00084-JCM-GWF
10             Plaintiff,                )
                                         )    UNITED STATES’ MOTION
11             v.                        )    FOR ALTERNATIVE VICTIM
                                         )    NOTIFICATION PROCEDURES
12   THOMAS LAMB, et al.,                )
                                         )
13            Defendants.                )

14

15        COMES NOW THE UNITED STATES OF AMERICA, by and through its

16   undersigned    attorneys,   and    respectfully    moves    this   Court    for

17   authorization to employ alternate victim notification procedures

18   pursuant to Title 18, United States Code, Section 3771(d)(2). More

19   particularly, the victims in this case number, along with the

20   companion cases 2:12-CR-00083-KJD-GWF and 2:12-CR-00004-JCM-GWF,

21   number in the millions making it impracticable to accord each

22   victim individual notice and other rights described in subsection

23   3771(a). The UNITED STATES therefore requests authorization to

24   notify the victims by internet publication in a manner described

25   below.

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 1                                    I. INTRODUCTION

 2        During the last four (4) years, United States law enforcement

 3   authorities have been conducting an investigation of the Carder.su

 4   organization,      a    highly    sophisticated       international       cybercrime

 5   enterprise.    The      investigation         has   shown    that   the   Carder.su

 6   organization engages in large scale trafficking of compromised

 7   credit card account data and counterfeit instruments, such as

 8   counterfeit identification documents and counterfeit credit cards,

 9   as well as money laundering and various types of computer crimes,

10   including intrusion and hacking.

11        Since    on       or    about    November      22,     2005,   the   Carder.su

12   organization, including its leadership, members, and associates,

13   have constituted a Racketeering “enterprise,” as defined by Title

14   18, United States Code, Section 1961(4), that is, a group of

15   individuals associated in fact, although not a legal entity.                      The

16   enterprise    is   an       ongoing   criminal      organization    whose    members

17   function as a continuing unit for a common purpose of achieving the

18   objectives of the enterprise. The Carder.su organization's members

19   engage in acts of identity theft and financial fraud, including,

20   but not limited to, acts involving trafficking in stolen means of

21   identification; trafficking in, production and use of counterfeit

22   identification         documents;      identity       theft;    trafficking       in,

23   production and use of unauthorized and counterfeit access devices;

24   and bank fraud;        and whose members interfere with interstate and

25   foreign commerce through acts of identity theft and financial

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 1   fraud.     Members and associates of the Carder.su organization

 2   operate principally in Las Vegas, Nevada, and elsewhere.

 3         The Carder.su organization operates a “virtual clubhouse,”

 4   located at an internet web portal called a forum. This forum is

 5   where the worldwide membership congregates to purchase illicitly

 6   obtained data, share knowledge and Modus Operandi of various fraud

 7   schemes in an effort to further the criminal enterprise, and

 8   conspires to maximize the amount of illegal proceeds obtained.

 9   Membership in the organization is not available to the general

10   public.    Instead, a second forum has also been created to act as a

11   feeder mechanism to vet incoming new members to the organization.

12   The   Carder.su   organization’s   forum     operates    solely    for    its

13   membership’s unlawful purposes.        The forum itself is operated in

14   attempted secrecy through the use of numerous security features,

15   such as an in-depth review process to gain membership, multiple

16   vetted member sponsorship, and increased password security. Within

17   the organization, experienced and vetted members collaborate and

18   share services to support the illegal criminal hackers engaging in

19   computer intrusion, identify theft, access device fraud, and other

20   fraud activities.    As of March 7, 2012, the Carder.su organization

21   boasted a membership of seven thousand eight hundred and eighty

22   (7,880).

23         During the course of the investigation, law enforcement agents

24   have determined that millions of individual persons, as well as a

25   myriad of financial institutions, which are located in both the

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 1   United States and overseas, have been victims of the Carder.su

 2   organization’s criminal activities.      For example, access device

 3   fraud is one of the common offenses routinely perpetrated by

 4   members of the Carder.su organization and their associates. In the

 5   spring of 2011, law enforcement agents accessed a website, which

 6   they knew had been established by Defendant [14], a member of the

 7   Carder.su organization (charged in 2:12-CR-004), for the sole

 8   purpose of selling stolen and otherwise compromised credit card

 9   account data in furtherance of the criminal enterprise. Defendant

10   [14] advertised on the organization’s forum that the member was a

11   vendor, who sold compromised credit cards, and further provided a

12   website address in his advertisement where other members could

13   purchase the compromised account information. When law enforcement

14   agents logged in and browsed Defendant [14]’s web site, they were

15   able to select one hundred (100) compromised credit card account

16   numbers and add it to the website’s shopping cart. Law enforcement

17   agents then transferred approximately seven hundred dollars ($700)

18   to Defendant [14]. When the money transfer was completed, the

19   agents were then able to download the compromised credit card data

20   which they had purchased.

21        Moreover, while law enforcement agents were monitoring this

22   same website, Defendant [14] updated his advertisement on the

23   organization’s forum to reflect that he was offering one million

24   (1,000,000) stolen credit card accounts for sale. Analysis of

25   subsequent sales conducted from Defendant [14]’s site from April

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 1   12, 2011, to April 22, 2011, showed the sale of fifty four thousand

 2   nine hundred seventy four (54,974)of those stolen credit card

 3   account numbers, with each individual account number being sold for

 4   approximately twenty dollars ($20).               Accordingly, the Carder.su

 5   organization profited in excess of one million dollars ($1,000,000)

 6   during that ten day period from victimizing thousands of individual

 7   account holders, as well as the numerous financial institutions

 8   which issued their credit card accounts.

 9          A second illustration showing the voluminous number of victims

10   in this case can be found through law enforcement’s April 2011

11   forensic analysis of the recovered images from computer servers

12   under the control Defendant [19](charged in 2:12-CR-004). This

13   analysis    revealed    the   presence       of   approximately     sixty    three

14   thousand nine hundred and one (63,901) compromised credit card

15   account numbers.       Law enforcement agents initially forwarded the

16   list   of   compromised     account    numbers     to    Chase,   Discover,    and

17   American    Express    to   determine       whether     these   three   financial

18   institutions    had    sustained      any    dollar     loss    associated    with

19   fraudulent use of these compromised accounts.

20          Chase advised that approximately six thousand five hundred

21   twenty seven (6,527) of the accounts were issued by Chase. Chase

22   stated they had suffered a dollar loss of approximately seven

23   hundred eighty five thousand seven hundred twenty two dollars

24   ($785,722)arising from fraud on those accounts. Discover advised

25   that approximately two thousand seven hundred ninety four (2,794)

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 1   of the accounts had been issued by them. Discover stated that they

 2   had suffered a dollar loss of approximately five hundred forty nine

 3   thousand six hundred seventy two dollars ($549,672) from fraud on

 4   those accounts. American Express advised that a total of three

 5   thousand four hundred twenty four (3,424) accounts had been issued

 6   by them. American Express stated that they had suffered a dollar

 7   loss of approximately seven hundred twenty eight thousand six

 8   hundred   eighty    dollars     ($728,680)    arising   from   fraud    on   the

 9   accounts.

10        Based on the information provided by Chase, Discover and

11   American Express, even though their accounts only comprise twelve

12   thousand seven hundred forty five (12,745) of the sixty three

13   thousand nine hundred and one (63,901) total accounts, the dollar

14   loss sustained just among those three financial institutions is

15   more than two Million dollars. Law enforcement continues to work to

16   identify additional victims, that is, to ascertain which financial

17   institutions issued the remainder of the sixty three thousand nine

18   hundred and one (63,901) accounts.

19        Finally,      to   close   the   loop,   members    of    the   Carder.su

20   organization and their associates, including but not limited to the

21   defendants charged in 2:12-CR-0083 and 2:12-CR-0084, who purchased

22   stolen credit card information from the Carder.su organization also

23   trafficked in, manufactured, and used false identity documents to

24   assume the victim account holders’ identities.             Using these false

25   identifications, usually counterfeit drivers’ licenses and other

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 1   counterfeit secondary means of identification, Carder.su members

 2   used the stolen credit card account information to unlawfully

 3   obtain merchandise, goods, services, and money for their own

 4   personal financial gain and to benefit the Carder.su organization.

 5   The     financial   loss      associated        with      fraudulent      activities

 6   perpetrated by Carder.su members for each of those credit card

 7   accounts would have been limited only by the available account

 8   balance limits set by the victim financial institutions that issued

 9   the cards.      Even if those limits were set at a low amount per

10   credit card account, i.e., two hundred dollars ($200), the loss to

11   the victims - and the financial gain to the criminal enterprise,

12   could    have   easily    been   more        than   twenty        million     dollars

13   ($20,000,000).

14         Given vastness of the Carder.su organization, the pattern of

15   prolific     criminal     activity      committed        by    its    international

16   membership in furtherance of the enterprise, and the fact that the

17   organization has been engaging in these offenses since on or about

18   November 22, 2005, the government submits that the victims in this

19   case, along with the companion cases 2:12-CR-00083-KJD-GWF and

20   2:12-CR-00004-JCM-GWF, number in the millions thereby making it

21   impracticable to accord each victim individual notice and other

22   rights     described     in   subsection       3771(a).         Accordingly,       the

23   government seeks permission to engage in the alternative victim

24   notification procedures discussed below.

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 1                  II. VICTIM NOTIFICATION REQUIREMENTS

 2        On October 30, 2004, the President signed into law the Justice

 3   for All Act of 2004. Title I of the Act enumerates specific rights

 4   of crime victims in federal criminal cases, codified at 18U.S.C. §

 5   3771(a). These include “[t]he right to reasonable, accurate, and

 6   timely notice of any public court proceeding ... involving the

 7   crime or of any release or escape of the accused,” and“[t]he right

 8   to be reasonably heard at any public proceeding in the district

 9   court   involving   release,   plea,   sentencing,      or    any    parole

10   proceeding.” 18 U.S.C.§3771(a)(2),(a)(4).

11        The Act requires“[o]fficers and employees of the Department of

12   Justice and other departments and agencies of the United States

13   engaged in the detection, investigation and prosecution of crime

14   [to] make their best efforts to see that crime victims are notified

15   of, and accorded, the rights described in subsection[3771](a),” 18

16   U.S.C. § 3771(c)(1), and it instructs the Court to “ensure that the

17   crime victim is afforded” those rights. 18 U.S.C. § 3771(b). A

18   “crime victim” under the Act is defined as “a person directly and

19   proximately harmed” as a result of the commission of a Federal

20   offense. 18U.S.C. § 3771(e).

21        In routine cases involving a single or limited number of

22   victims, the victim notification burdens imposed by the Act upon

23   the government will be substantial. In other cases, involving tens,

24   hundreds, or even thousands of potential victims, the burdens

25   imposed by the Act would be simply overwhelming. In recognition of

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 1   this, the Act grants the Court authority to fashion alternative

 2   notification procedures when the Court finds that implementation of

 3   the   prescribed   requirements   would       be    impracticable.       The    Act

 4   provides:

 5               In a case where the court finds that the
                 number   of   crime   victims   makes   it
 6               impracticable to accord all of the crime
                 victims the rights described in subsection
 7               [3771](a), the court shall fashion a
                 reasonable procedure to give effect to
 8               this   chapter   that  does   not   unduly
                 complicate or prolong the proceedings.
 9

10         18 U.S.C. § 3771(d)(2). The Act places no limitations on the

11   alternative procedures which a Court may fashion other than that

12   the procedures be reasonable to effectuate the Act and that they

13   not unduly complicate or prolong the proceedings. Id. In this case,

14   on or about January 10, 2012, thirty nine (39) members of the

15   Carder.su organization were indicted in case number 02:12-CR-004-

16   JCM-GWF, for violation of Title 18, United States Code, Sections

17   1962- Racketeering (RICO) and RICO Conspiracy, 1028- Fraud in

18   Connection with Identification Documents and 1029 - Fraud in

19   Connection with Access Devices.              On March 13, 2012, four (4)

20   additional members and seven (7) associate members of the Carder.su

21   organization were indicted in case numbers 02:12-CR-083-KJD-GWF and

22   02:12-CR-084-JCM-GWF for violation of Title 18, United States Code,

23   Sections    371-Conspiracy,   1028       -    Fraud     in    Connection       with

24   Identification Documents, and 1029 - Fraud in Connection with

25   Access Devices. These individuals span all levels of the Carder.su

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 1   organization       including   the    uppermost      leadership.     The    offenses

 2   described in these three Indictments arose out of a sophisticated

 3   and massive criminal organization whose members engage in acts of

 4   identity theft and financial fraud, including, but not limited to,

 5   acts involving trafficking in stolen means of identification;

 6   trafficking in, production and use of counterfeit identification

 7   documents; identity theft; trafficking in, production and use of

 8   unauthorized and counterfeit access devices; and bank fraud in

 9   furtherance of the criminal enterprise. As described above, the

10   number of persons whose personal and financial identifiers were

11   compromised in this case—each a potential victim—along with the

12   myriad of financial institutions, nationally and internationally,

13   which have sustained financial loss arising from the organization’s

14   criminal    conduct,    makes    individualized           communication    with and

15   notification of each victim impracticable.

16        Neither the government nor the Court has the resources to

17   accord each of the victims in this case the rights prescribed in

18   subsection 3771(a) on an individual basis.

19   III. UNITED STATES’ PROPOSED ALTERNATIVE NOTIFICATION PROCEDURES

20        The scope and size of this criminal enterprise is, in many

21   respects,      a     testament       to    modern         communications     and—in

22   particular—the world wide web. Also, law enforcement agents have

23   determined     that    the     internet        is   the    method   of     preferred

24   communication among the fraud investigators employed by the victim

25   financial institutions. Accordingly, the UNITED STATES requests

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 1   authorization from the Court to communicate with and provide

 2   notification to the pool of potential victims through this medium.

 3   More specifically, the International Association of Financial Crime

 4   Investigators (IAFCI)has agreed to cooperate in this matter by

 5   posting, for a period of at least three months from the date of the

 6   Court’s order, on IAFCI’s own website a notice providing victims

 7   information and links to the U.S. Attorney’s Office public website.

 8   In additional, the primary investigative agencies, the United

 9   States Secret Service (USSS) and Homeland Security Investigations

10   (HSI),   have   each   agreed   to   place   a   similar    notice    on   their

11   agencies’ public websites providing similar information. In turn,

12   the UNITED STATES proposes on the U.S. Attorney’s Office public

13   website to post for the duration of each of the three companion

14   cases, 2:12-CR-004; 2:12-CR-083; and 2:12-CR-084; the Indictments

15   and significant pleadings, forms for communication and conferral,

16   and notice of events and hearings. The proposed notice will provide

17   the following information regarding this case:

18        1. The names of the defendants, the case number and charges;

19        2. All of the victim rights codified at 18 U.S.C. § 3771(a);

20        3. The identity of the prosecutors;

21        4. The identity and contact telephone numbers of Victim
             Witness Coordinator;
22

23        In addition, the UNITED STATES proposes to post a web-based

24   victim impact questionnaire. This questionnaire will allow for the

25   orderly collection of certain victim information, help authenticate

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 1   those who are actual victims and give the millions of victims an

 2   opportunity to describe their plight to government attorneys.

 3                                 IV. CONCLUSION

 4        The   number    of    potential    victims    in   this    case   renders

 5   individual notification to each impracticable. In such cases, the

 6   Justice for All Act authorizes the Court to fashion a reasonable

 7   alternate notification procedure to effect the aims of the Act

 8   without unduly complicating or prolonging the proceedings. The

 9   government’s proposed notification procedures accomplish these

10   goals. For the reasons set forth above, the government respectfully

11   requests   that     this   Court   grant    this   motion      and   sign   the

12   accompanying proposed Order.

13
     RESPECTFULLY SUBMITTED this 13TH day of APRIL 2012.
14

15                                      DANIEL BOGDEN
                                        United States Attorney
16                                      /s/
                                        Kimberly M. Frayn
17                                      Andrew Duncan
                                        Assistant United States Attorneys
18                                      District of Nevada
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19                                      Las Vegas, Nevada 89101

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 1

 2
                       UNITED STATES DISTRICT COURT
 3
                              DISTRICT OF NEVADA
 4

 5   UNITED STATES OF AMERICA,        )
                                      )         2:12-CR-00084-JCM-GWF
 6               Plaintiff,           )
                                      )         O R D E R
 7               v.                   )
                                      )
 8   THOMAS LAMB, et al.,             )
                                      )
 9              Defendants.           )

10
          Before the Court is the government’s motion for permission
11
     to engage in alternative victim notification procedures.              The
12
     Court, having reviewed the motion and found good cause for
13
     proceeding under alternative notification procedures, opines as
14
     follows:
15
          IT IS THEREFORE ORDERED that the government’s motion is
16
     GRANTED. The UNITED STATES shall          communicate with and provide
17
     notification to the pool of potential victims through the
18
     internet.
19
          It IS FURTHER ORDERED that for a period of not less than
20
     three (3) months, the International Association of Financial
21
     Crime Investigators (IAFCI)shall post on IAFCI’s own website a
22
     notice providing victims with information and links to the U.S.
23
     Attorney’s Office public website.
24
          IT IS FURTHER ORDERED that, for a period of not less than
25

26                                        13
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 1   three (3) months, the United States Secret Service (USSS) and

 2   Homeland Security Investigations (HSI) shall each place a similar

 3   notice on their agencies’ public websites providing victims with

 4   information and links to the U.S. Attorney’s Office public

 5   website.

 6        IT IS FURTHER ORDERED that for each of the three companion

 7   cases, 2:12-CR-004; 2:12-CR-083; and 2:12-CR-084; the UNITED

 8   STATES shall post on the U.S. Attorney’s Office public website

 9   the Indictments and significant pleadings in each case, forms for

10   communication and conferral, and notice of events and hearings.

11   The notice shall provide the following information regarding this

12   case:

13        1.   The names of the defendants, the case number and
          charges;
14
          2.   All of the victim rights codified at 18 U.S.C. §
15        3771(a);

16        3.    The identity of the prosecutors;

17        4.    The identity and contact telephone numbers of Victim
                Witness Coordinator; and
18
          5.    A web-based victim impact questionnaire. This
19              questionnaire will allow for the orderly collection of
                certain victim information, help authenticate those who
20              are actual victims and give the millions of victims an
                opportunity to describe their plight to government
21              attorneys.

22
                 16th
     Dated this ______ day of April 2012.
23

24                   ______________________________________________
                     Honorable Magistrate Judge George W. Foley Jr.
25

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 1

 2                                    CERTIFICATE OF SERVICE
            I, Kimberly M. Frayn, hereby certify that I am an employee of the Organized Crime Strike
 3   Force, United States Department of Justice, and that on this day I served, by way of the internet
     via email and by facsimile, a copy of the following:
 4
                            UNITED STATES’ MOTION FOR
 5                  ALTERNATIVE VICTIM NOTIFICATION PROCEDURES

 6   upon the defense counsel.

 7   DATED: APRIL 13th , 2012             ____/s/___________________________
                                          KIMBERLY M. FRAYN
 8

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